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 9                               UNITED STATES DISTRICT COURT
10                            SOUTHERN DISTRICT OF CALIFORNIA
11                               (HONORABLE LARRY A. BURNS)
12 UNITED STATES OF AMERICA,                )      Case No. 06CR2450-10-LAB
                                            )
13              Plaintiff,                  )
                                            )      ORDER
14 v.                                       )
                                            )
15 WILLY TRAN (10),                         )
                                            )
16              Defendant.                  )
                                            )
17

18              GOOD CAUSE APPEARING AND PREVIOUS APPLICATION HAVING BEEN MADE,
19 IT IS HEREBY ORDERED that Copy Connection be allowed to submit their billing for Order

20 #1A-Amended for a total of $1378.68 plus sales tax, in the above entitled case on a CJA-21

21 form for payment.

22              SO ORDERED.
23

24 DATED: January 5, 2007

25

26                                                 HONORABLE LARRY ALAN BURNS
                                                   United States District Judge
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